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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

MATTHEW STEIN,                        )
                                      )
      Plaintiff,                      )
                                      )       CIVIL ACTION
v.                                    )
                                      )       FILE No. _____________________
CANDLER PARK                          )
VENTURES, LLC                         )
                                      )
      Defendant.                      )

                                  COMPLAINT

      COMES NOW, MATTHEW STEIN, by and through the undersigned

counsel, and files this, his Complaint against Defendant CANDLER PARK

VENTURES, LLC pursuant to the Americans with Disabilities Act, 42 U.S.C. §

12181 et seq. (“ADA”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36

(“ADAAG”). In support thereof, Plaintiff respectfully shows this Court as follows:

                         JURISDICTION AND VENUE

      1.     This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.

      2.     Venue is proper in the federal District Court for the Northern District

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of Georgia, Atlanta Division.

                                      PARTIES

      3.     Plaintiff MATTHEW STEIN (hereinafter “Plaintiff”) is, and has been

at all times relevant to the instant matter, a natural person residing in Decatur,

Georgia (Dekalb County).

      4.     Plaintiff is a paraplegic and is disabled as defined by the ADA..

      5.     Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking, standing, grabbing, grasping and/or pinching.

      6.     Plaintiff cannot walk and uses a wheelchair for mobility purposes.

      7.     Defendant CANDLER PARK VENTURES, LLC (hereinafter

“Defendant”) is a Georgia limited liability company that transacts business in the

State of Georgia and within this judicial district.

      8.     Defendant may be properly served with process via its registered

agent for service, to wit: Dirk Botterbusch, 35 Swann Ridge, Chattahoochee Hills,

Georgia, 30268.

                           FACTUAL ALLEGATIONS

      9.     On multiple occasions, including, but not limited to, June 8, 2021,

Plaintiff was a customer at “Candler Park Market,” a business located at 1642


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McLendon Avenue, N.E., Atlanta, Georgia 30307.

      10.    Defendant is the owner (or co-owner) of the three adjoining parcels of

real property and improvements that are the subject of this action, and upon which

Candler Park Market operates. (The structures and improvements situated upon

said parcels of real property shall be referenced herein as the “Facility,” and said

parcels of real property shall be collectively referenced herein as the “Property”).

      11.    Plaintiff lives approximately one (1) mile from the Facility and

Property.

      12.    Plaintiff’s access to the business(es) located at 1642 McLendon

Avenue, N.E. Atlanta, Georgia 30307 (DeKalb County Property Appraiser’s parcel

numbers 15 239 02 087, 15 239 02 088, and 15 239 02 090), and/or full and equal

enjoyment of the goods, services, foods, drinks, facilities, privileges, advantages

and/or accommodations offered therein were denied and/or limited because of his

disabilities, and he will be denied and/or limited in the future unless and until

Defendant is compelled to remove the physical barriers to access and correct the

ADA violations that exist at the Facility and Property, including those set forth in

this Complaint.

      13.    Plaintiff has visited the Facility and Property at least once before and

intends on revisiting the Facility and Property once the Facility and Property are


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made accessible.

      14.    Plaintiff intends to revisit the Facility and Property to purchase goods

and/or services.

      15.    Plaintiff travelled to the Facility and Property as a customer and as an

advocate for the disabled, encountered the barriers to his access of the Facility and

Property that are detailed in this Complaint, engaged those barriers, suffered legal

harm and legal injury, and will continue to suffer such harm and injury as a result

of the illegal barriers to access present at the Facility and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      16.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      17.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      18.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      19.    The Facility is a public accommodation and service establishment.

      20.    The Property is a public accommodation and service establishment.

      21.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

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the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      22.     Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      23.     Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      24.     The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      25.     The Property must be, but is not, in compliance with the ADA and

ADAAG.

      26.     Upon information and good faith belief, the Facility has been subject

to qualifying alterations that were initiated after March 15, 2012. See 28 C.F.R. §

36.402.

      27.     Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in his capacity as a customer of the Facility and Property,

and as an advocate for the disabled, but could not fully do so because of his


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disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      28.    Plaintiff intends to visit the Facility and Property again in the very

near future as a customer and as an advocate for the disabled in order to utilize all

of the goods, services, facilities, privileges, advantages and/or accommodations

commonly offered at the Facility and Property, but will be unable to fully do so

because of his disability and the physical barriers to access, dangerous conditions

and ADA violations that exist at the Facility and Property that preclude and/or

limit his access to the Facility and Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those

barriers, conditions and ADA violations more specifically set forth in this

Complaint.

      29.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as


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required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      30.     Defendant will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendant is compelled to remove all

physical barriers that exist at the Facility and Property, including those specifically

set forth herein, and make the Facility and Property accessible to and usable by

Plaintiff and other persons with disabilities.

      31.     A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:

      (a)     EXTERIOR ELEMENTS:

      (i)     The total number of accessible parking spaces on the Property

              is inadequate, in violation of section 208.2 of the 2010 ADAAG

              standards.

      (ii)    The accessible parking space on the Property is missing an

              identification sign, in violation of section 502.6 of the 2010

              ADAAG standards.

      (iii)   The accessible parking space on the Property does not have an


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       adjacent access aisle, in violation of section 502.3 of the 2010

       ADAAG standards.

(iv)   Further, exiting a vehicle from the existing accessible parking

       space into a wheelchair is not possible due to the close

       proximity of a pole to the driver’s side of the space, in violation

       of section 502.4 of the 2010 ADAAG standards.

(v)    The Property has exterior fixtures and publicly accessible

       features (specifically, an Ice Chest and Propane Tank Storage

       Unit) that lack permissible clear floor space before them, in

       violation of section 305.3 of the 2010 ADAAG standards.

(vi)   The exterior of the Property does not provide for a minimum of

       5% (five percent) of the dining surfaces utilized for

       consumption of food or drink that comply with section 902.2 of

       the 2010 ADAAG standards, requiring appropriate knee and toe

       clearance thereunder as set forth in section 306 of the 2010

       ADAAG standards, positioned for a forward approach, in

       violation of section 226.1 of the 2010 ADAAG standards.

(b)    INTERIOR ELEMENTS:

(i)    The Facility lacks restrooms signage that complies with


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        sections 216.8 and 703 of the 2010 ADAAG standards.

(ii)    The door to the restroom in the Facility does not provide for

        permissible minimum maneuvering clearance, in violation of

        section 404.2.4 of the 2010 ADAAG standards.

(iii)   The sink in the restroom in the Facility does not provide for

        adequate knee and toe clearance thereunder, in violation of

        section 606.2 of the 2010 ADAAG standards.

(iv)    The grab bars adjacent to the commodes in the restrooms in the

        Facility fail to comply with sections 604.5 and 609.4 of the

        2010 ADAAG standards, as both garb bars are of inadequate

        length.

(v)     The hand operated flush control on the commode in the

        restroom in the Facility is not located on the open side of the

        restroom, in violation of section 604.6 of the 2010 ADAAG

        standards.

(vi)    The mirror in the restroom in the Facility exceeds the maximum

        permissible height set forth in section 603.3 of the 2010

        ADAAG standards.

32.     Without limitation, the above-described violations of the ADAAG


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rendered the sole accessible parking space on the Property inaccessible to Plaintiff.

      33.    The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facility and Property.

      34.    Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property

in violation of the ADA.

      35.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      36.    All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.

      37.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      38.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendant has the financial resources to make the necessary


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modifications.

      39.    In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      40.    Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      41.    Plaintiff’s requested relief serves the public interest.

      42.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.

      43.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      44.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendant to modify the Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)    That the Court find Defendant in violation of the ADA and ADAAG;


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(b)   That the Court issue a permanent injunction enjoining Defendant from

      continuing its discriminatory practices;

(c)   That the Court issue an Order requiring Defendant to (i) remove the

      physical barriers to access and (ii) alter the subject Facility and

      Property to make them readily accessible to, and useable by,

      individuals with disabilities to the extent required by the ADA;

(d)   That the Court award Plaintiff’s counsel reasonable attorneys' fees,

      litigation expenses and costs; and

(e)   That the Court grant such further relief as deemed just and equitable

      in light of the circumstances.

                                Dated: June 15, 2021.

                                Respectfully submitted,

                                /s/Craig J. Ehrlich
                                Craig J. Ehrlich
                                Georgia Bar No. 242240
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 CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

The undersigned hereby certifies that the foregoing document has been


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prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                    /s/Craig J. Ehrlich
                                    Craig J. Ehrlich




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